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Al-Khidhr v. Harrison County--Supplemental Disclosure Expert
Testimony
Friday, October 23, 2009 3:10 PM

From: "chaselaw@bellsouth.net” <chaselaw@bellsouth.net>
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2 Files (702KB)

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ist Suppl... Dr. Simo...

Haley and lan,

Attached please find a supplemental disclosure of expert testimony of Dr.
Simone regarding this case. | also attached a copy of the psychological
evaluation prepared by Dr. Simone. The first page of the evaluation contains
two color photographs. I'll get them reproduced and mail them to you.

Alvin Chase

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Py.
